  Case 1:23-mj-01013-WRP Document 14 Filed 06/28/23 Page 1 of 5 PageID.40



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UNITED STATES OF AMERICA


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )         MAG. NO. 23-1013 WRP
                              )
             Plaintiff,       )         The Government’s Memorandum
                              )         in Support of its Motion to Detain
         vs.                  )         both Defendants; Exhibits 1 & 2;
                              )         Certificate of Service
AVERY GARRARD,           (01) )
KEINA DRAGESET,          (02) )         Detention hearing: June 30, 2023
                              )         Time: 10:30
             Defendants.      )         Judge: Hon. Rom Trader
                              )


         THE GOVERNMENT’S MEMORANDUM IN SUPPORT
          OF ITS MOTION TO DETAIN BOTH DEFENDANTS
  Case 1:23-mj-01013-WRP Document 14 Filed 06/28/23 Page 2 of 5 PageID.41



      The United States of America (hereafter, the “Government”) hereby files a

Memorandum in Support of its motion to detain both defendants.

      I.     Background

      On June 26, 2023, the Government filed its Criminal Complaint, charging

both Avery Garrard (Garrard) and Keina Drageset (Drageset) with knowingly and

intentionally conspiring with each other and others to distribute and possess with

intent to distribute 40 grams of fentanyl, a Schedule II controlled substance,

resulting in the deaths of two persons, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B)(vi), and 846. Also on June 26, 2023, the Government filed motions

to detain both Garrard and Drageset, arguing that they are both dangers to the

community and flight risks, and that there is a rebuttable presumption in favor of

detention, pursuant to 18 U.S.C. § 3142(e).

      II.    Argument

      The Criminal Complaint describes in great deal how fentanyl allegedly

supplied by both defendants led to the deaths of two persons on June 3-4, 2023.

But that is not the only distribution of fentanyl described in the Criminal

Complaint. It also describes that in February 2023, a former DEA Cooperating

Source stated that Garrard and Drageset obtained and distributed quantities of

fentanyl that included up to an ounce and quarter-pound (the Complaint at ¶ 26).

                                          2
  Case 1:23-mj-01013-WRP Document 14 Filed 06/28/23 Page 3 of 5 PageID.42



      The information from that Cooperating Source was corroborated to some

extent by the discovery of some $150,219 in U.S. currency in a safe in Drageset’s

apartment. See Exhibit 1. In addition, also in the safe, there was some 550 gross

grams of a substance that field tested positive for fentanyl and 33.9 gross grams of

a substance that field tested positive for methamphetamine. Id.

      All of this was recovered despite the fact that two people who had received

fentanyl from the defendants – indirectly through two intermediaries (identified in

the Criminal Complaint as Source #1 and Source #2) – died on June 3-4, 2023. In

other words, the defendants apparently did not stop selling fentanyl even after the

two victims had died from fentanyl.

      That conclusion is supported by the facts that, also on June 23, 2023: (1) a

mail parcel that was addressed to Drageset’s residence and intercepted by the U.S.

Postal Service, and searched pursuant to a search warrant issued by this Court

(Exhibit 2), resulted in the seizure of an additional 8.6 gross grams of fentanyl; and

(2) Garrard and Drageset had about 10 grams or more of fentanyl in Drageset’s

Tesla on June 23, 2023, at the time of their arrest.

      Moreover, as noted, in Dragesnet’s apartment she had about 33.9 gross

grams of a substance that field tested positive for methamphetamine. So not only

does it appear that she was a fentanyl dealer, it appears that she also was a

                                           3
  Case 1:23-mj-01013-WRP Document 14 Filed 06/28/23 Page 4 of 5 PageID.43



methamphetamine dealer. There can be no doubt about the harm that

methamphetamine has caused to Hawaii.

      But what we are now seeing in Hawaii are more and more cases of fentanyl

– a drug so deadly that it can be lethal after a single dosage of about 2 milligrams.

The fact that these two defendants apparently distributed fentanyl which killed two

persons, that they possessed a large quantity of fentanyl in Drageset’s apartment,

that they had over $150,000 in cash in Drageset’s safe, that they were about to

receive a parcel that contained 8.6 gross grams of additional fentanyl, and they had

about 10 grams or more in their Tesla at the time of their arrest, means that they

are dangers to the community and are flight risks and should be detained. They are

each facing statutory mandatory minimum sentences of at least 20 years in prison

and the Government knows of no evidence to rebut the presumption that they be

detained pending trial.

      Dated: June 28, 2023, at Honolulu, Hawaii.

                                        Respectfully submitted,

                                        CLARE E. CONNORS
                                        United States Attorney
                                        District of Hawaii

                                        By /s/ Marshall H. Silverberg
                                         MARSHALL H. SILVERBERG
                                         Assistant U.S. Attorney

                                          4
  Case 1:23-mj-01013-WRP Document 14 Filed 06/28/23 Page 5 of 5 PageID.44



                         CERTIFICATE OF SERVICE


            I hereby certify that, on the date and by the methods of service noted

below, a true and correct copy of the foregoing document was served electronically

through CM/ECF:

      Jacqueline Esser
      Attorney for Defendant
      Keina Drageset

      Neil Kugiya
      Attorney for Defendant
      Avery Garrard

            DATED: June 28, 2023, Honolulu, Hawaii.


                                            Desirai Dawson-Tolbert
                                            U.S. Attorney’s Office
                                            District of Hawaii
